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8                   IN THE UNITED STATES DISTRICT COURT FOR THE

9                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,           ) 1:12-CR-00135-AWI-BAM
                                         )
12                   Plaintiff,          ) FINAL ORDER OF FORFEITURE
                                         )
13             v.                        )
                                         )
14   THEODORE WILLIAMS,                  )
                                         )
15                   Defendant.          )
                                         )
16                                       )
17       WHEREAS, on July 5, 2013, the Court entered a Preliminary Order

18   of Forfeiture, pursuant to the provisions of 26 U.S.C. § 5872, 49

19   U.S.C. § 80303, and 28 U.S.C. § 2461(c), based upon the plea

20   agreement entered into between plaintiff and defendant Theodore

21   Williams, in the following property:

22             a.   an Armscor of the Philippines, imported by KBI Inc., .22

23                  caliber weapon;

24             b.   all ammunition seized in this case.

25       AND WHEREAS, beginning on July 13, 2013, for at least 30

26   consecutive days, the United States published notice of the Court’s

27   Order of Forfeiture on the official internet government forfeiture

28   site www.forfeiture.gov.     Said published notice advised all third

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                                                  Final Order of Forfeiture
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1    parties of their right to petition the Court within sixty (60) days

2    from the first day of publication of the notice for a hearing to

3    adjudicate the validity of their alleged legal interest in the

4    forfeited property;

5          AND WHEREAS, the Court has been advised that no third party has

6    filed a claim to the subject property and the time for any person or

7    entity to file a claim has expired.

8          Accordingly, it is hereby ORDERED and ADJUDGED:

9          1.    A Final Order of Forfeiture is hereby entered forfeiting to

10   the United States of America all right, title, and interest in the

11   above-listed property pursuant to 26 U.S.C. § 5872, 49 U.S.C. § 80303,

12   and 28 U.S.C. § 2461(c), to be disposed of according to law, including

13   all right, title, and interest of Theodore Williams.

14         2.    All right, title, and interest in the above-listed property

15   shall vest solely in the name of the United States of America.

16         3.    The Bureau of Alcohol, Tobacco, Firearms and Explosives

17   shall maintain custody of and control over the subject property until

18   it is disposed of according to law.

19
     IT IS SO ORDERED.
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21   Dated: November 19, 2013
                                      SENIOR DISTRICT JUDGE
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                                                   Final Order of Forfeiture
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